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420
Antioch, California
Postal Code [94509]

Rena Bitter, Assistant Sec of State for Consular Affairs
Bureau of Consular Affairs

U.S. Department of State
600 19th Street NW

Washington, DC 20431
RE: Notice of Declaration of Political Status
Dear Assistant Secretary Rena Bitter,

This notice is to provide you a copy of my Declaration of Political Status that affirms that I have return d to my
lawful birthright political status as a Washingtonian, and I claim my exemptions as stated in Federal Code 8 USC
1101 (a) 21.

Let it be clear that I am not a Territ rial United States Citizen nor a Municipal Citizen of the UNITED STATES.

Please find enclosed a certified copy of my documents that have been published on the record
at Alameda County, California.

With this notice, please fully inform all federal, FEDERAL, state, STATE, county and

COUNTY government departments of my political status correction (i.e. State Department passport office,
IRS, Intermal Revenue Service, State of California department of r venue, State of California department of motor
vehicles, California DMV, Califomia Attorney General Rob Bonta, California Secretary of Stat Shirley Weber,
Contra Costa County Attorney. Thomas L Geiger, Contra Costa County Sheriff David

Livingston, Contra Costa County Recorder Kristin B Connelly, Contra Costa County Assessor Gus

Kramer , Contra Costa County Auditor Robert Campbell , Contra Costa County Court Administrator Taylor
Wakefield, judicial district First District Court of Appeal and all the judicial districts in California) noticing them
that I am a living man, standing peacefully in honor on the land and soil jurisdiction. I am not a vessel,
corporation, taxpayer, or dead entity in the maritime (water, administrative) jurisdiction.

Again, let it be clear that I am not a Territorial United States Citizen nor a Municipal Citizen of the UNITED
STATES.

Notice to Principals is notice to Agents. Notice to Agents is notice to Principals. ak wand tHe,
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